             Case 17-31435                 Doc 20        Filed 01/23/19         Entered 01/23/19 15:51:55                        Desc         Page 1
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                                                          Form 1
                                     Individual Estate Property Record and Report                                                                Page: 1

                                                       Asset Cases
Case No.:    17-31435                                                                  Trustee Name:       (530540) R. Keith Johnson
Case Name:      WINTERS, KAMEELA MOLAE                                                 Date Filed (f) or Converted (c):      08/30/2017 (f)
                                                                                       § 341(a) Meeting Date:       10/04/2017
For Period Ending:      01/23/2019                                                     Claims Bar Date:

                                 1                             2                      3                      4                   5                    6

                         Asset Description                  Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
              (Scheduled And Unscheduled (u) Property)    Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                             Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                            Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                       and Other Costs)

   1*       DUPLEX OR MULTI-UNIT BUILDING,                   70,813.00                    70,813.00                                   0.00                70,813.00
            PREVIOUS PRIMARY (See Footnote)

   2*       SINGLE-FAMILY HOME,                              61,100.00                    61,100.00                                   0.00                61,100.00
            THIS PROPERTY WAS VALUED BY
            (See Footnote)

   3*       2006 JEEP GRAND CHEROKEE (CAR                      2,000.00                        0.00                                   0.00                     0.00
            MAX VALUE USED TO (See Footnote)

   4*       FURNITURE: LIVING ROOM, DINING                         750.00                      0.00                                   0.00                     0.00
            ROOM,2 BEDROOM (See Footnote)

   5*       APPLIANCES: WASHER & DRYER                             400.00                      0.00                                   0.00                     0.00
            LOCATION: 5833 (See Footnote)

   6*       ELECTRONICS: TV, LAPTOPS                               600.00                      0.00                                   0.00                     0.00
            LOCATION: 5833 BRADFORD (See
            Footnote)

   7*       CLOTHES: JEANS, SHIRTS, JACKETS,                       500.00                      0.00                                   0.00                     0.00
            SHOES, UNIFORMS (See Footnote)

   8*       JEWELRY: NECKLACES, RINGS,                             200.00                      0.00                                   0.00                     0.00
            EARRINGS LOCATION: (See Footnote)

    9       CASH: CASH                                             200.00                      0.00                                   0.00                     0.00

   10       MAZUMA CHECKING ACCOUNT #:                              36.69                      0.00                                   0.00                     0.00
            3615

  11*       COMMUNITYCOMMERCE BANK#0342                              0.00                      0.00                                   0.00                     0.00
            DAUGHTER'S ACCT. THI (See
            Footnote)

   12       SAVINGS COMMUNITY AMERICA                                1.00                      0.00                                   0.00                     0.00
            #3425

   13       CHECKING COMMERCE BANK#3107                            128.09                      0.00                                   0.00                     0.00

   14       COMMUNITYCOMMERCE#1583                                 100.00                      0.00                                   0.00                     0.00

  15*       - # 9814 MAZUMA CREDIT UNION CD                          0.00                      0.00                                   0.00                     0.00
            THIS ACCOUNT IS (See Footnote)

   16       OTHER: MAZUMA CREDIT UNION                               0.00                      0.00                                   0.00                     0.00
            SAVINGS

  17*       GOVERMENT RETIREMENT THRIFT                              0.00                      0.00                                   0.00                     0.00
            SAVINGS PLAN VALUE: (See Footnote)

   18       IRA FIDELITY INVESTMENT (ROLLED                    6,000.00                        0.00                                   0.00                     0.00
            OVER 401K)

  19*       TERM LIFE INSURANCE INSURED:                             0.00                      0.00                                   0.00                     0.00
            KAMEELA WINTERS FAC (See
            Footnote)

  20*       TERM LIFE INSURANCE INSURED:                             0.00                      0.00                                   0.00                     0.00
            KAMEELA WINTERS (See Footnote)
              Case 17-31435                   Doc 20       Filed 01/23/19          Entered 01/23/19 15:51:55                        Desc         Page 2
                                                                                  of 2
                                                            Form 1
                                       Individual Estate Property Record and Report                                                                     Page: 2

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                                                                                          § 341(a) Meeting Date:       10/04/2017
For Period Ending:         01/23/2019                                                     Claims Bar Date:

                                   1                              2                      3                      4                   5                        6

                           Asset Description                   Petition/         Estimated Net Value     Property Formally     Sale/Funds               Asset Fully
                (Scheduled And Unscheduled (u) Property)     Unscheduled        (Value Determined By        Abandoned        Received by the         Administered (FA)/
                                                                Values                 Trustee,             OA=§554(a)           Estate               Gross Value of
                                                                               Less Liens, Exemptions,       abandon.                                Remaining Assets
  Ref. #                                                                          and Other Costs)

  21*       TERM LIFE INSURANCE INSURED:                               0.00                       0.00                                    0.00                       0.00
            KAMEELA WINTERS FAC (See
            Footnote)

            Assets Totals (Excluding unknown values)          $142,828.78                $131,913.00                                     $0.00             $131,913.00

      RE PROP# 1             residence turned into a rental Zillow was used to appraise this property.,
                             11274 E 71st TerraceRaytown MO 64064
      RE PROP# 2             using Zillow.com. Rental home- This home needs alot of repairs before it can be sold for market value.,
                             4263 E 62nd StKansas City MO 64130
      RE PROP# 3             appraise vehicle) mileage: 160000

      RE PROP# 4             sets Location: 5833 Bradford Lake Lane, Charlotte NC 28269

      RE PROP# 5             Bradford Lake Lane, Charlotte NC 28269

      RE PROP# 6             Lake Lane, Charlotte NC 28269

      RE PROP# 7             Location: 5833 Bradford Lake Lane, Charlotte NC 28269

      RE PROP# 8             5833 Bradford Lake Lane, Charlotte NC 28269

      RE PROP# 11            is Debtor's Daughter's account. Debtor is only the custodian of this account. Value: $856.94

      RE PROP# 15            in Debtor's 17 year old Daughter's name Debtor is just the custodian on this account Account balance $5,000.

      RE PROP# 17            $20,307.00 This plan is Erisa qualified and not part of Debtor's estate

      RE PROP# 19            value $750,000.00 Beneficiaries: Shelia Gantt- Mother no cash in value Location: StateFarm PO BOX 2364 Bloomington IL 61702

      RE PROP# 20            Value: $ 35,000.00 Beneficiaries: Sheila Gantt - Mother no cash in value Location: Federal Employee Benefit Assc.

      RE PROP# 21            value $ 63,000.00 Beneficiaries: SHeila Gantt Mother no cash in value Location




Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




Initial Projected Date Of Final Report (TFR): 06/15/2017                      Current Projected Date Of Final Report (TFR):             03/14/2019


                      01/23/2019                                                               /s/R. Keith Johnson
                           Date                                                                R. Keith Johnson


Copy Served On: Shelley K. Abel
                Bankruptcy Administrator
